                                Case 19-14201        Doc 6     Filed 04/01/19      Page 1 of 1

                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Baltimore
                                     In re:    Case No.: 19−14201 − RAG         Chapter: 13

Kalid Johnson Sr. and
Maryland L. Johnson
Debtors


                                              DEFICIENCY NOTICE
DOCUMENT:                  1 − Chapter 13 Voluntary Petition Individual Filed by Kalid Johnson Sr., Maryland L. Johnson .
                           Government Proof of Claim due by 9/25/2019. Chapter 13 Plan and Certificate of Service due
                           by 4/12/2019. Schedules A/B−J due 4/12/2019. Declaration for Schedules due 4/12/2019.
                           Statement of Financial Affairs due 4/12/2019. Summary of Assets and Liabilities due
                           4/12/2019.Chapter 13 Statement of Your Current Monthly Income and Calculation of
                           Commitment Period Form 122C−1 Due 4/12/2019 Incomplete Filings due 4/12/2019 Section
                           521(i)(1) Incomplete Filing date: 5/13/2019. (Brown, Calton)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 4/15/19.

                           Form Incomplete.

CURE:                      Please file an amended Voluntary Petition for Individuals Filing for Bankruptcy [Official Form
                           101] completing (page 8) in its entirety providing a Certificate of Service.

CONSEQUENCE: Failure to cure the problem(s) by the date above may result in the pleading being stricken or
             other action the Court deems appropriate without further notice. For a proposed order, the failure
             to cure the problem(s) may result in the relief sought being denied for want of prosecution.


Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 4/1/19
                                                                 Mark A. Neal, Clerk of Court
                                                                 by Deputy Clerk, Calton Brown
                                                                 (301) 344−0407
cc:    Debtor
       Attorney for Debtor − PRO SE

defntc (rev. 12/12/2016)
